             Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 1 of 15




 1                                                FILED
     Carlos F. Llinas Negret (SBN 52253)
 2                                        2021 MAR 04 09:00 AM
     NELSON & FRAENKEL LLP
                                               KING COUNTY
     601 S. Figueroa St., Ste. 2050      SUPERIOR COURT CLERK
 3
     Los Angeles, CA 90017                        E-FILED
 4   Tel: (844) 622-6469 / Fax: (213) 622-6019
                                         CASE #: 21-2-02718-7 SEA
     Email: cllinas@nflawfirm.com
 5
 6   Attorneys for Plaintiffs

 7
                                     STATE OF WASHINGTON
 8
                                KING COUNTY SUPERIOR COURT
 9
10
     IRENE ZHANG, individually; LEI DONG, )            CASE NO.
11   individually; CATHERINE XIAOMEI LIU, )
     individually; ROBERT ROBBINS,                 )   FIRST AMENDED COMPLAINT FOR
12                                                 )   DAMAGES FOR:
     individually, and as the parent, next friend,     (1) NEGLIGENCE;
                                                   )
13   and guardian ad litem on behalf of A.R., a    )   (2) STRICT LIABILITY;
     minor, F.R., a minor, S.R., a minor, A.R., a  )   (3) BREACH OF WARRANTY
14   minor, and C.R., a minor; VANESSA             )
     ROBBINS, individually; COOPER                 )   DEMAND FOR JURY TRIAL
15   ROBBINS, individually; LUCY GLASSMAN,)
     individually; RICKY GLASSMAN,                 )
16
     individually; NORA HELEN FERRUFINO, ))
17   individually; CHARLES SHEN HAO,               )
     individually; CHOON YUL LEE, individually;)
18   YOON KIL LEE, individually; HYUN SHIM )
19   KIM, individually: YAN DENG, individually; )
     GUO QIANG DING, individually;                 )
20   JACQUELINE GEE, individually; YU QIAN )
                                                   )
     GE, individually; BILAN HEIF, individually; )
21   SOPHIA JIANG, individually; XIN JIE LI,       )
22   individually; JOE YOUNG SUNG,                 )
     individually; YU DAN WANG, individually; )
23   SALVADOR F. RIVAS, individually; MING )
     WU, individually and as the parent, next      )
24                                                 )
     friend, and guardian ad litem on behalf of
                                                   )
25   J.W., a minor, and F.W., a minor; YUAN XIE, )
     individually, XINGWEN YE, individually;       )
26   YONG CHEN ZHI, individually; ZHENG            )
     LIANG, individually; SZUTING CHEN,            )
27
     individually; SHEE WAI KUEN, individually; )
28   ZHONG PING GAO, individually; YUAN            )
                                                   )
     GAO, individually and as the parent, next     )

                                  FIRST AMENDED COMPLAINT FOR DAMAGES
                                                  -1-
             Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 2 of 15




 1   friend and guardian ad litem on behalf of      )
     E.S., a minor; and POES 1 through 10,          )
 2   inclusive;                                     )
                                                    )
 3                                                  )
                            Plaintiffs,             )
 4                                                  )
     vs.                                            )
 5                                                  )
     THE BOEING COMPANY, a Delaware
 6                                                  )
     corporation; and DOES 1 through 50,            )
     inclusive;                                     )
 7
 8                          Defendants.

 9
10          Plaintiffs IRENE ZHANG, individually; LEI DONG, individually; CATHERINE
11   XIAOMEI LIU, individually; ROBERT ROBBINS, individually, and as the parent, next friend,
12   and guardian ad litem on behalf of A.R., a minor, F.R., a minor, S.R., a minor, A.R., a minor, and
13   C.R., a minor; VANESSA ROBBINS, individually; COOPER ROBBINS, individually; LUCY
14   GLASSMAN, individually; RICKY GLASSMAN, individually; NORA HELEN FERRUFINO,
15   individually; CHARLES SHEN HAO, individually; CHOON YUL LEE, individually; YOON
16   KIL LEE, individually; HYUN SHIM KIM, individually: YAN DENG, individually; GUO
17   QIANG DING, individually; JACQUELINE GEE, individually; YU QIAN GE, individually;
18   BILAN HEIF, individually; SOPHIA JIANG, individually; XIN JIE LI, individually; JOE
19   YOUNG SUNG, individually; YU DAN WANG, individually; SALVADOR F. RIVAS,
20   individually; MING WU, individually and as the parent, next friend, and guardian ad litem on
21   behalf of J.W., a minor, and F.W., a minor; YUAN XIE, individually, XINGWEN YE,
22   individually; YONG CHEN ZHI, individually; ZHENG LIANG, individually; SZUTING CHEN,
23   individually; SHEE WAI KUEN, individually; ZHONG PING GAO, individually; YUAN GAO,
24   individually and as the parent, next friend and guardian ad litem on behalf of E.S., a minor; and
25   POES 1 through 10, inclusive (hereinafter collectively the “Plaintiffs”), through their counsel,
26   bring this action against defendant THE BOEING COMPANY (“BOEING”), a Delaware
27   corporation; and DOES 1 through 50, inclusive (hereinafter collectively the “Defendants”), and in
28   support thereof, allege as follows:


                                    FIRST AMENDED COMPLAINT FOR DAMAGES
                                                    -2-
           Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 3 of 15




 1                                                   I.
 2                                         INTRODUCTION
 3          1.    This a protective action, filed in order to preserve the Plaintiffs’ rights under the
 4   applicable statutes of limitations. An identical action has been filed in the United States District
 5   Court for the Western District of Washington. If the parties agree (or the Western District of
 6   Washington determines) that jurisdiction is improper in federal court, Plaintiffs will pursue their
 7   claims in this Court. Alternatively, if the parties agree (or the Western District of Washington
 8   determines) that jurisdiction is appropriate in federal court, Plaintiffs will dismiss this action
 9   without prejudice.
10          2.    This action arises out of Air China Flight CA-983 (“Flight 983”) on March 4, 2019,
11   operated by Air China Inc. (“Air China”) in which numerous passengers suffered injuries prior
12   to, during and after a disembarkation (hereinafter referred to as the “Incident”). The aircraft
13   involved was a BOEING 777-300, registered as B-2040 (“the aircraft”), performing Flight 983
14   from Beijing (China), to Los Angeles, California (USA) with 188 passengers on board. While
15   enroute to Los Angeles, the crew of Flight 983 claims to have received an aft cargo smoke
16   indication, and as a result, diverted the Flight to Anadyr Airport, in the subarctic district of
17   Chukotka, East Siberia, Russia.
18          3.    At all times material, the subject fire alarm was triggered over navigable waters in
19   the North Pacific Ocean, the aircraft engaged in an emergency landing over navigable waters,
20   and ultimately landed in the commercial coastal port city of Anadyr, Russia.
21          4.    After landing, the flight crew deployed the slides and forced the passengers to
22   rapidly disembark down the slides in chaos and panic. The slide disembarkation occurred in
23   arctic conditions at, near or below freezing temperatures. The aircraft slides and passengers were
24   battered and tossed by strong winds and severe inclement temperatures. The slides became
25   destabilized, causing passengers to be tossed and flung around like ragdolls. The alleged aft
26   cargo smoke indication was claimed to be a false alarm.
27
28


                                  FIRST AMENDED COMPLAINT FOR DAMAGES
                                                  -3-
               Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 4 of 15




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11             5.    On or about March 5, 2019, Air China issued an apology for the Incident in an

12   online posting, stating that the Incident was triggered by a faulty fire alarm, or words to that

13   effect:

14
15
16
17
18
19
20
21
           6.        Upon information and belief, inspections of the aircraft after landing revealed the
22
     cargo hold to be in a normal condition without any signs of a fire whatsoever.
23
           7.        Upon information and belief, aircraft and fire detection instrumentation supplied
24
     by BOEING have a known history of false indications for cargo compartment smoke and/or fire.
25
     These false indications have resulted in unscheduled landings and passenger injuries, similar to
26
     the Incident.
27
28


                                    FIRST AMENDED COMPLAINT FOR DAMAGES
                                                    -4-
              Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 5 of 15




 1            8.    Upon information and belief, the BOEING supplied slides are defective, unsafe,
 2    unstable and have resulted in passengers being injured during use in similar situations. The
 3    instructions for use and warnings are also defective.
 4                                                   II.
 5                                       JURISDICTION AND VENUE
 6            9.    This Court has original jurisdiction pursuant to RC2 2.08.010.
 7            10.   Venue is proper in King County pursuant to RCW 4.12.020 and RCW 4.12.025.
 8                                                   III.
 9                                               PARTIES
10            A.    Plaintiffs
11            11.   At all times herein mentioned, Plaintiff IRENE ZHANG is and was an individual
12   and citizen of California who resides in the County of Los Angeles, California.
13            12.   At all times herein mentioned, Plaintiff LEI DONG is and was an individual and
14   citizen of California who resides in the County of Los Angeles, California.
15            13.   At all times herein mentioned, Plaintiff CATHERINE XIAOMEI LIU is and was
16   an individual and citizen of California who resides in the County of Los Angeles, California.
17            14.   At all times herein mentioned, Plaintiff ROBERT ROBBINS, individually, next
18   friend, and as the parent and guardian ad litem on behalf of C.R., a minor, A.R., a minor, F.R., a
19   minor, S.R., a minor, A.R., a minor, and C.R., a minor, was and is a citizen of the State of Texas.
20   Petitions for Guardian ad Litem are in the process of being executed and will be filed in short
21   order.
22            15.    At all times herein mentioned, Plaintiff VANESSA ROBBINS, is and was an
23   individual and citizen of the State of Texas.
24            16.   At all times herein mentioned, Plaintiff COOPER ROBBINS, is and was an
25   individual and citizen of the State of Texas.
26            17.   At all times herein mentioned, Plaintiff LUCY GLASSMAN is and was an
27   individual and citizens of the State of New Mexico.
28


                                   FIRST AMENDED COMPLAINT FOR DAMAGES
                                                   -5-
             Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 6 of 15




 1           18.     At all times herein mentioned, Plaintiff RICKY GLASSMAN is and was an
 2   individual and citizens of the State of New Mexico.
 3           19.     At all times herein mentioned, Plaintiff NORA HELEN FERRUFINO is and was
 4   an individual and citizen of the Republic of El Salvador.
 5           20.     At all times herein mentioned, Plaintiff CHARLES SHEN HAO is and was an
 6   individual and citizen of The People's Republic of China (“PRC”).
 7           21.     At all times herein mentioned, Plaintiff CHOON YUL LEE is and was an individual
 8   and citizen of the Republic of Korea.
 9           22.     At all times herein mentioned, Plaintiff YOON KIL LEE is and was an individual
10   and citizen of the State of California.
11           23.     At all times herein mentioned, Plaintiff HYUN SHIM KIM is and was an individual
12   and citizen of the Republic of Korea.
13           24.     At all times herein mentioned, Plaintiff YAN DENG is and was an individual and
14   citizen of the People’s Republic of China.
15           25.     At all times herein mentioned, Plaintiff GUO QIANG DING is and was an
16   individual and citizen of the State of California.
17           26.     At all times herein mentioned, Plaintiff JACQUELINE GEE is and was an
18   individual and citizen of California who resides in the County of Los Angeles, California.
19           27.     At all times herein mentioned, Plaintiff YU QIAN GE is and was an individual and
20   citizen of the State of California.
21           28.     At all times herein mentioned, Plaintiff BILAN HEIF, is and was an individual and
22   citizen of the State of California.
23           29.     At all times herein mentioned, Plaintiff SOPHIA JIANG is and was an individual
24   and citizen of the State of California.
25           30.     At all times herein mentioned, Plaintiff XIN JIE LI is and was an individual and
26   citizen of the State of California.
27           31.     At all times herein mentioned, Plaintiff JOE YOUNG SUN, is an was an individual
28   and citizen of the Republic of Korea.


                                     FIRST AMENDED COMPLAINT FOR DAMAGES
                                                     -6-
             Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 7 of 15




 1           32.     At all times herein mentioned, Plaintiff YU DAN WANG is and was an individual
 2   and citizen of the State of California.
 3           33.     At all times herein mentioned, Plaintiff SALVADOR F. RIVAS is and was an
 4   individual and citizen of the Republic of El Salvador.
 5           34.     At all times herein mentioned, Plaintiff MING WU, individually and as the parent,
 6   next friend, and guardian ad litem on behalf of J.W., a minor, and F.W., a minor, is and was a
 7   citizen of the State of California. Petitions for Guardian ad Litem are in the process of being
 8   executed and will be filed in short order.
 9           35.     At all times herein mentioned, Plaintiff YUAN XIE is and was an individual and
10   citizen of the State of California.
11           36.     At all times herein mentioned, Plaintiff XINGWEN YE is and was an individual
12   and citizen of The People's Republic of China (“PRC”).
13           37.     At all times herein mentioned, Plaintiff YONG CHEN ZHI is and was an individual
14   and citizen of The People's Republic of China (“PRC”).
15           38.     At all times herein mentioned, Plaintiff ZHENG LIANG is and was an individual
16   and citizen of the State of California.
17           39.     At all times herein mentioned, Plaintiff SZUTING CHEN is and was an individual
18   and citizen of the Republic of Singapore.
19           40.     At all times herein mentioned, Plaintiff SHEE WAI KUEN is and was an individual
20   and citizen of the Republic of Singapore.
21           41.     At all times herein mentioned, Plaintiff ZHONG PING GAO is and was an
22   individual and citizen of The People's Republic of China (“PRC”).
23            42.    At all times herein mentioned, Plaintiff YUAN GAO, individually and as the
24    parent, next friend and guardian ad litem on behalf of E.S., a minor, is and was a citizen of the
25    State of California. A Petition for Guardian ad Litem is in the process of being executed and will
26    be filed in short order.
27   ///
28


                                     FIRST AMENDED COMPLAINT FOR DAMAGES
                                                     -7-
             Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 8 of 15




 1           B.     Other Plaintiffs
 2           43.    The true names and capacities of Plaintiffs POES 1 – 100, inclusive, and each of
 3   them, are unknown to Plaintiffs who therefore bring this action by such fictitious names.
 4   Plaintiffs further allege that each fictitiously named Plaintiff was in some manner injured by the
 5   acts and occurrences alleged herein. Plaintiffs will amend this Complaint to show their true names
 6   and capacities when the same are ascertained.
 7           C.     Defendants
 8        44.       At all times herein mentioned, defendant BOEING is and was a global aircraft
 9   manufacturer incorporated in the State of Delaware, with its principal place of business in the State
10   of Illinois. This Court has general personal jurisdiction over BOEING by virtue of its continuous
11   and systematic contacts with the State of Washington; Boeing conducts substantial, ongoing
12   Business within this State, such that it is considered “at home” within this State; Boeing is
13   registered to do business in this State and has a registered agent for service of process in this
14   state. Moreover, this Court has personal jurisdiction over BOEING pursuant to R.C.W. 4.28.185
15   regularly transacts business in this State and derives substantial revenue therefrom; the subject
16   aircraft and its component parts were designed, manufactured and sold in this State; and the alleged
17   tortious acts were committed in this State.
18          D.      Other Defendants
19           45.    The true names and capacities, whether individual, corporate, associate or
20   otherwise of the Defendants DOES 1 through 50, inclusive, are unknown to Plaintiffs who
21   therefore sue said Defendants by such fictitious names. Plaintiffs further allege that each of said
22   fictitious Defendants is in some manner responsible for the acts and occurrences hereinafter set
23   forth. Plaintiffs will amend this Complaint to show their true names and capacities when the same
24   are ascertained, as well as the manner in which each factious Defendant is responsible.
25           E.     Agency & Concert of Action
26           46.    At all times herein mentioned, Defendants, and each of them, hereinabove, were
27   the agents, servants, employees, partners, aiders and abettors, co-conspirators, and/or joint
28   venturers of each of the other Defendants named herein and were at all times operating and acting


                                    FIRST AMENDED COMPLAINT FOR DAMAGES
                                                    -8-
               Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 9 of 15




 1   within the purpose and scope of said agency, service, employment, partnership, enterprise,
 2   conspiracy, and/or joint venture, and each Defendant has ratified and approved the acts of each
 3   of the remaining Defendants. Each of the defendants aided and abetted, encouraged, and rendered
 4   substantial assistance to the other Defendants in breaching their obligations to Plaintiffs, as
 5   alleged herein. In taking action to aid and abet and substantially assist the commission of these
 6   wrongful acts and other wrongdoings complained of, as alleged herein, each of the Defendants
 7   acted with an awareness of his/her/its primary wrongdoing and realized that his/her/its conduct
 8   would substantially assist the accomplishment of the wrongful conduct, wrongful goals, and
 9   wrongdoing.
10                                                    IV.
11                                     GENERAL ALLEGATIONS
12             47.   On or about March 4, 2019, Plaintiffs were all passengers lawfully aboard by Flight
13   983.
14             48.   During Flight 983, the flight crew claims to have received an aft cargo smoke
15   indication and diverted Flight 983 to Anadyr Airport, Russia. Upon landing the flight crew forced
16   the Plaintiffs to disembark the aircraft in chaos and panic, using evacuation slides and sending
17   Plaintiffs destined for Los Angeles, California into the Siberian arctic weather, frigid cold and
18   high winds, causing Plaintiffs to be tossed and thrown around while disembarking, suffering
19   serious personal and bodily injuries.
20                                     FIRST CAUSE OF ACTION
21                                              (Negligence)
22                     By All PLAINTIFFS Against BOEING and DOES 1 – 50, Inclusive
23             49.   Plaintiffs hereby incorporate by reference all prior paragraphs of this complaint and
24   makes said paragraphs part of this second cause of action, as though fully set forth herein at
25   length.
26             50.   At all times herein mentioned, defendants BOEING and DOES 1 – 50, inclusive,
27   were the designers, manufacturers, distributors, and/or sellers of the BOEING 777-300 aircraft
28   and their component parts. Defendant BOEING and DOES 1 – 50, inclusive, were at all times


                                    FIRST AMENDED COMPLAINT FOR DAMAGES
                                                    -9-
            Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 10 of 15




 1   relevant, in the business of designing, testing, manufacturing, selling, assembling, building,
 2   distributing, marketing, maintaining, inspecting and/or providing maintenance and inspection
 3   instructions for, the aircraft and its component parts as suitable and safe for passenger air
 4   transportation, including the subject BOEING 777-300, registered as B-2040, performing Flight
 5   983.
 6          51.    At all times herein mentioned, defendants BOEING and DOES 1 – 50, inclusive,
 7   breached their duty of care to Plaintiffs as passengers aboard Flight 983 with respect to the design,
 8   manufacture, inspection, testing, assembly, certification, distribution, and/or sale of a safe,
 9   airworthy aircraft; including the failure to train, instruct, and/or issue advisory warnings necessary
10   to assure the safe operation, control, management and/or maintenance of the aircraft. Defendants’
11   acts and/or omissions include, but are not limited to the following:
12                 a.      designing, manufacturing, assembling and/or certifying an aircraft with
13   smoke sensors, instruments, equipment, and/or systems which was susceptible to displaying
14   false indications and erroneous information of smoke and/or fire in the cargo hold;
15                 b.      failing to provide adequate warnings and instructions regarding the
16   propensity of the aircraft’s smoke sensors, instruments, equipment, and/or systems to display
17   false indications and erroneous information regarding smoke and/or fire in the cargo hold;
18                 c.      failing to properly train pilots to identify a false indication of smoke and/or
19   fire in the cargo hold, and/or to respond with appropriate action;
20                 d.      designing, manufacturing, assembling and/or certifying an aircraft with
21   evacuation slides and/or systems which were susceptible to failing in the conditions in which
22   they were foreseeably used and/or subjecting the users to injury during use;
23                 e.      failing to provide train and provide adequate warnings and instructions
24   regarding the use and deployment of the evacuation slides and/or systems;
25                 f.      failing to provide adequate maintenance and inspections instructions; and
26   failing to properly maintain the subject aircraft and its component parts
27          52.    As a direct and proximate result of BOEING and DOES 1 – 50’s negligence,
28   Plaintiffs sustained extensive economic and non-economic damages, physical injuries, past and


                                   FIRST AMENDED COMPLAINT FOR DAMAGES
                                                   - 10 -
            Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 11 of 15




 1   future medical expenses, past and future and severe and ongoing emotional distress and pain and
 2   suffering, and other such damages, all in an amount to be proven at trial.
 3                                    SECOND CAUSE OF ACTION
 4                                             (Strict Liability)
 5                 By All PLAINTIFFS Against BOEING and DOES 1 – 50, Inclusive
 6           53.    Plaintiffs hereby incorporate by reference all prior paragraphs of this complaint and
 7   makes said paragraphs part of this third cause of action, as though fully set forth herein at length.
 8           54.    BOEING and DOES 1 – 50, inclusive, designed, manufactured, distributed and/or
 9   sold the subject aircraft and its component parts involved in the Incident. Defendants BOEING
10   and DOES 1 – 50, inclusive, were in the business of designing, testing, manufacturing, selling,
11   assembling, building, distributing, marketing, and/or inspecting aircraft as suitable for passenger
12   air transportation, including the subject aircraft and its component parts involved in the Incident.
13           55.    At all times relevant hereinabove set forth, the subject aircraft and its component
14   parts, were being operated by Air China and used for the purposes for which they were
15   manufactured, designed, inspected, sold and intended to be used, in a manner reasonably
16   foreseeable to BOEING and DOES 1 – 50.
17           56.    At all times relevant hereinabove set forth, the subject aircraft and its component
18   parts, including its instructions and manuals, were defective, dangerous, unsafe, and not airworthy
19   by reason of BOEING and DOES 1 – 50’s defective manufacture, design, warning systems,
20   inadequate warnings, inadequate instructions, inspections, testing, service, and/or maintenance of
21   the subject aircraft, and its component parts, as set forth above, and in particular its smoke sensors,
22   instruments, equipment, and/or systems which were susceptible to displaying false indications
23   and erroneous information of smoke and/or fire in the cargo hold. The aircraft, and its component
24   parts, were in substantially similar condition at the time of the Incident to its original condition.
25           57.    At all times relevant hereinabove set forth, the subject aircraft and its component
26   parts, including its instructions and manuals, were defective, dangerous, unsafe, and not airworthy
27   by reason of BOEING and DOES 1 – 50’s defective manufacture, design, warning systems,
28   inadequate warnings, inadequate instructions, inspections, testing, service, and/or maintenance of


                                   FIRST AMENDED COMPLAINT FOR DAMAGES
                                                   - 11 -
            Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 12 of 15




 1   the subject aircraft, and its component parts, as set forth above, and in particular its evacuation
 2   slides which were susceptible to failing in the conditions in which they were foreseeably used
 3   and/or subjecting the users to injury during use. The aircraft, and its component parts, were in
 4   substantially similar condition at the time of the Incident to its original condition.
 5          58.    At all times and places mentioned herein, BOEING and DOES 1 – 50, and each
 6   of them, knew or should have known at the time said aircraft left BOEING and DOES 1 – 50’s
 7   possession, that said aircraft and its component parts and manuals were defective in design,
 8   manufacture, sufficient instructions, and warnings, that it did not meet users’ and ordinary
 9   consumers’ reasonable expectations for safety when used in a reasonably foreseeable manner,
10   and was dangerous, defective, unfit, and unsafe for its intended use and that said conditions were
11   likely to cause and bring about an incident, when used in a foreseeable manner.
12          59.    Plaintiffs are informed and believe, and upon such information and belief allege
13   that, the subject aircraft and its component parts and manuals, had associated deficits, risks, and
14   defects, including, but not limited to, its defectively designed smoke sensors, instruments,
15   equipment, and/or systems which were susceptible to displaying false indications and erroneous
16   information of smoke and/or fire in the cargo hold, and/or their lack of sufficient warnings and/or
17   use instructions regarding the potential for false alarms. Moreover, BOEING and DOES 1 – 50
18   failed to adhere to industry standards regarding the design, testing, distribution, and
19   manufacturing process, amongst others, and failed to incorporate in the smoke sensors,
20   instruments, equipment, and/or systems, a properly functioning mechanism which could have
21   averted the false alarm of smoke and/or fire in the cargo hold, and Plaintiffs’ injuries and damages.
22          60.    Plaintiffs are informed and believe, and upon such information and belief allege
23   that, the subject aircraft and its component parts and manuals, had associated deficits, risks, and
24   defects, including, but not limited to, its defectively designed evacuation slides, instruments,
25   equipment, and/or systems which were susceptible to failing and causing injuries to their users,
26   and/or their lack of sufficient warnings and/or use instructions regarding the use of the slides.
27   Moreover, BOEING and DOES 1 – 50 failed to adhere to industry standards regarding the
28   design, testing, distribution, and manufacturing process, amongst others, and failed to incorporate


                                   FIRST AMENDED COMPLAINT FOR DAMAGES
                                                   - 12 -
            Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 13 of 15




 1   in the evacuation slides, and/or systems, safety mechanisms that would have prevented the
 2   catastrophic destabilizing event that occurred, and Plaintiffs’ injuries and damages, herein.
 3          61.     These deficits, risks, and defects were known or certainly knowable by BOEING
 4   and DOES 1 – 50 via the use and employ of scientific knowledge available at the time of design,
 5   manufacture, testing, and distribution of the aircraft.
 6          62.     The associated risks, deficits, and defects of the aircraft presented a substantial
 7   danger to pilots, airlines, and passengers, and ordinary pilots, airlines, and consumers of the
 8   aircraft would not have recognized the associated risks, deficits, and defects.
 9          63.     BOEING and DOES 1 – 50, and each of them, further failed to adequately warn
10   of the potential risks and hazards associated with the aircraft when used in a way that was
11   reasonably foreseeable to BOEING and DOES 1 – 50. This lack of sufficient use instructions
12   and/or warnings was a substantial factor in Flight 983’s crew reaction to the aft cargo smoke
13   indication, and the deployment of the slides, and consequently, bringing about Plaintiffs’ injuries
14   and damages.
15          64.     At the times and places mentioned herein, BOEING and DOES 1 – 50, and each
16   of them, knew or should have known at the time the aircraft left BOEING and DOES 1 – 50’s
17   possession, that said aircraft was defective in its instructions, warnings, design, and manufacture,
18   likely to perform unsafely in a manner unanticipated by a prudent user, and having such
19   knowledge, BOEING and DOES 1 – 50, and each of them, should have used reasonable care to
20   warn, or give adequate use instructions and warning of the aircraft’s defects and deficits in design
21   and operational characteristics to those intending to use the aircraft in the manner in which it was
22   intended to be used.
23          65.     At all times and places mentioned herein, BOEING and DOES 1 – 50 failed to use
24   reasonable care to warn, give adequate use instruction or warning to provide facts describing the
25   aircraft’s dangerous propensities to those whom they could expect to use the product or be
26   endangered by its probable use, and such deficits and defects as illustrated hereinabove were a
27   substantial factor in causing Plaintiffs’ damages. The foreseeable risks of failure associated with
28   the design of the aircraft outweigh the benefits associated with the aircraft.


                                   FIRST AMENDED COMPLAINT FOR DAMAGES
                                                   - 13 -
            Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 14 of 15




 1          66.    The aircraft was further defective due to inadequate warnings or use instructions
 2   because BOEING and DOES 1 – 50, and each of them, knew or should have known that the
 3   defectively designed aircraft created a high risk of failure and resulting harm. BOEING and
 4   DOES 1 – 50 failed to adequately and timely warn consumers of the risk.
 5          67.    On or about March 4, 2019, while the aircraft was being used in a reasonably
 6   foreseeable manner and for the purpose for which it was intended, by reason of the defective
 7   conditions thereof, and as a legal and proximate result thereof, the aircraft and its component parts
 8   failed to perform properly.
 9          68.    As a proximate result of the defects referenced hereinabove, the failure to use
10   reasonable care to warn or give adequate use instructions and/or warning of the defective
11   condition and dangerous characteristics of the aircraft when used in intended manner, Plaintiffs
12   sustained extensive past and future economic and non-economic damages, physical injuries, past
13   and future medical expenses, past and future and severe and ongoing emotional distress and pain
14   and suffering, and other such damages, all in an amount to be proven at trial.
15                                    THIRD CAUSE OF ACTION
16                                        (Breach of Warranty)
17                By All PLAINTIFFS Against BOEING and DOES 1 – 50, Inclusive
18          69.    Plaintiffs hereby incorporate by reference all prior paragraphs of this complaint and
19   makes said paragraphs part of this third cause of action, as though fully set forth herein at length.
20          70.    Prior to the Incident on March 4, 2019, BOEING and DOES 1 – 50 expressly
21   and/or impliedly warranted and represented that the subject aircraft, its component parts, and in
22   conjunction with the instructions and warnings given by BOEING and DOES 1 – 50, was
23   airworthy, of merchantable quality, both fit and safe for ordinary use, and for the particular
24   purpose of commercial air travel which it was designed, intended and used. Additionally,
25   BOEING and DOES 1 – 50 further warranted that the subject aircraft, and its component parts,
26   were free from all defects.
27          71.    BOEING and DOES 1 – 50 breached said warranties in that the subject aircraft
28   was not airworthy, of merchantable quality, or fit and safe for ordinary use and for the particular


                                   FIRST AMENDED COMPLAINT FOR DAMAGES
                                                   - 14 -
            Case 2:21-cv-00666-RSM Document 1-2 Filed 05/20/21 Page 15 of 15




 1   the purposes for which it was designed, intended and used, and free from all defects as set forth
 2   above. The aircraft, and its component parts, were in substantially similar condition at the time
 3   of the Incident to its original condition.
 4           72.    Contrary to these implied warranties, the aircraft was defective, unmerchantable,
 5   and unfit for its ordinary use when sold, and unfit for the particular purpose for which it was sold.
 6           73.    As a proximate result of the defects referenced hereinabove, Plaintiffs sustained
 7   extensive past and future economic and non-economic damages, physical injuries, past and future
 8   medical expenses, past and future and severe and ongoing emotional distress and pain and
 9   suffering, and other such damages, all in an amount to be proven at trial.
10                                        PRAYER FOR RELIEF
11          WHEREFORE, Plaintiffs respectfully request this Court to grant judgment in their favor
12   and against Defendants as follows:
13          1.      For damages to be awarded in an amount to be determined at trial, including
14   general, special, compensatory, consequential and/or incidental damages;
15          2.      For medical and related expenses in an amount to be determined at trial;
16          3.      For lost earnings and loss of earning capacity in an amount to be determined at trial;
17   and
18          4.      For such other legal and equitable relief as the Court deems just and proper.
19
20                                             JURY DEMAND
21          Plaintiffs request a trial by jury on all issues so triable.
22
23   DATED: March 3, 2021                            NELSON & FRAENKEL LLP
24
25
                                                             By:/s/Carlos F. Llinás Negret
26                                                           Carlos F. Llinás Negret
                                                             Stuart R. Fraenkel (Pro Hac Pending)
27                                                           Attorneys for Plaintiffs
28


                                    FIRST AMENDED COMPLAINT FOR DAMAGES
                                                    - 15 -
